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 4                              UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )               Case No. 2:13-cr-00083-JCM-CWH
                                               )
 9   vs.                                       )               ORDER
                                               )
10   DERRICK PHELPS, et al.,                   )
                                               )
11                     Defendants.             )
     __________________________________________)
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            This matter is before the Court on Defendant Linda Mack’s Motion for Joinder (#53), filed
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     November 21, 2013, and Motion for Joinder (#62), filed December 11, 2013. The motions for
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     joinder will be granted and Defendant Mack’s arguments will be considered in conjunction with the
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     various motion to which she joins. Accordingly,
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            IT IS HEREBY ORDERED that Defendant Linda Mack’s Motion for Joinder (#53) is
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     granted.
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            IT IS FURTHER ORDERED that Defendant Linda Mack’s Motion for Joinder (#62) is
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     granted.
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            DATED: December 18, 2013.
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23                                              ______________________________________
                                                C.W. Hoffman, Jr.
24                                              United States Magistrate Judge
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